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1                                               THE HONORABLE BARBARA J. ROTHSTEIN

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                                 UNITED STATES DISTRICT COURT
7                               WESTERN DISTRICT OF WASHINGTON
8                                         AT SEATTLE

9
     NORTHWEST ADMINISTRATORS, INC.,               NO. 2:20-cv-01354-BJR
10
                                   Plaintiff,      ORDER GRANTING STIPULATION
11
                                                   FOR EXTENSION OF TIME
12          v.

13   MV TRANSPORTATION, INC., a
     California corporation,
14
                                   Defendant.
15

16          Having considered the parties’ Joint Stipulation to Extend Defendant’s Deadline to

17   Respond to Complaint, and good cause appearing therefore:

18          IT IS HEREBY ORDERED THAT,

19          1. The parties’ stipulation at is GRANTED; and

20          2. Defendant shall have until October 2, 2020 to file its response to the Complaint in

21               this matter.

22
            ENTERED this 18th day of September, 2020
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                                           ________________________________________
25                                         THE HONORABLE BARBARA J. ROTHSTEIN
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